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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Laila Masud
Marshack Hays LLP
870 Roosevelt
Irvine, CA 92620
949−333−777




Plaintiff or Attorney for Plaintiff

                                          UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA − RIVERSIDE
In re:

                                                                              CASE NO.:    6:17−bk−17749−MH

Joshua Cord Richardson                                                        CHAPTER:     7


                                                                              ADVERSARY NUMBER:         6:19−ap−01114−MH
                                                               Debtor(s).

Cleo Sonnenfeld


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Gabriela Nieto Diaz                                                                  PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
09/11/2019. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                October 16, 2019
             Time:                02:00 PM
             Hearing Judge:       Mark D. Houle
             Location:            3420 Twelfth St., Crtrm 303, Riverside, CA 92501



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                  Page 1                        F 7004−1.SUMMONS.ADV.PROC
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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: August 12, 2019




                                                                                        By:        "s/" Rita Cargill
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Cleo Sonnenfeld                                                              Gabriela Nieto Diaz
                                                                             Laguna Motors, Inc.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A
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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:




A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled:
__________________________________________________________________________________________________________
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date) _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:




                                                                               Service information continued on attached page
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________, I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.




                                                                               Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.




                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   _____________________________________________________________                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                          UNITED STATES BANKRUPTCY COURT

                Early Meeting of Counsel and Status Conference Instructions
                                Effective February 17, 2012



1.     Service of Order. A copy of this Order Re: Rule 26(f) Meeting, Initial Disclosures, and

Scheduling Conference must be served with the summons and complaint. The proof of service

of the summons and complaint must indicate that a copy of this order was served therewith.

2.     Local Bankruptcy Rule 7026-1. Compliance with Local Bankruptcy Rule 7026-1

(“LBR 7026-1") is required in ALL adversary proceedings.

3.     Rule 26(f) Meeting. Unless all defendants default, the parties must meet and confer

pursuant to Rule 26(f) of the Federal Rules of Civil Procedure (“Rule 26(f) Meeting”) at least 21

days before the status conference date set forth in the summons. The status conference set

forth in the summons shall also serve as the initial Rule 16(b) Scheduling Conference in this

adversary proceeding.

       The parties are jointly responsible for arranging and attending the Rule 26(f) Meeting,

which may be conducted in person or by telephone. During the Rule 26(f) Meeting, the parties

must, at a minimum: (a) discuss the nature and basis of their claims and defenses and the

possibilities for a prompt settlement or resolution of the case; (b) make or arrange for the initial

disclosures required by Rule 26(a)(1); and (c) develop a proposed discovery plan. The

discussion of claims and defenses must be substantive and meaningful. The parties are directed

to approach the Rule 26(f) Meeting cooperatively and in good faith.

4.     Initial Disclosures. Rule 26(a)(1) states that a party must, without awaiting a discovery

request, provide to other parties:

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       a.      The name and, if known, the address and telephone number of each individual
               likely to have discoverable information – along with the subjects of that
               information – that the disclosing party may use to support its claims or defenses,
               unless the use would be solely for impeachment;

       b.      A copy of – or a description by category and location – of all documents,
               electronically stored information, and tangible things that the disclosing party has
               in its possession, custody, or control and may use to support its claims or
               defenses, unless the use would be solely for impeachment;

       c.      A computation of each category of damages claimed by the disclosing party –
               who must also make available for inspection and copying as under Rule 34 the
               documents or other evidentiary material, unless privileged or protected from
               disclosure, on which each computation is based, including materials bearing on
               the nature and extent of injuries suffered; and

       d.      For inspection and copying as under Rule 34, any insurance agreement under

               which an insurance business may be liable to satisfy all or part of a possible

               judgment in the action or to indemnify or reimburse for payments made to satisfy

               the judgment.

F.R.Civ.P. 26(a)(1)(A). Rule 26(a)(1) requires a party to make its initial disclosures based on the

information then reasonably available to it. A party is not excused from making its disclosures

because it has not fully completed its investigation of the case or because it challenges the

sufficiency of another party’s disclosures or because another party has not made its disclosures.

F.R.Civ.P. 26(a)(1)(E).

5.     Alternative Dispute Resolution (“ADR”). The parties must explore the feasibility of

ADR to reach a settlement or early resolution of the adversary proceeding. The specific reasons

for any decision not to participate in a form of early ADR must be explained in the Joint Status

Report. If the parties elect not to participate in an early ADR effort, the court may nonetheless

direct the parties to ADR before trial.



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6.     Discovery Plan. At the Rule 26(f) Meeting, the parties must also discuss any issues

about preserving discoverable information and develop a proposed discovery plan. The

discussion regarding discovery following the initial disclosures must address the relevance of the

discovery sought and the sequence and timing of such discovery, including whether the

discovery will be conducted informally or formally. The deadlines in the discovery plan must be

mutually agreeable, with a view to achieving resolution of the case with a minimum of expense

and delay.

7.     Joint Status Report. Not later than 7 days before the status conference/Rule 16(b)

Scheduling Conference date set forth in the summons, the parties must file a Joint Status Report

in a form substantively identical to LBR Form F 7016-1.1. The Joint Status Report must contain

the information set forth in LBR 7016-1(a)(2), and a statement that the parties have completed

the Rule 26(f) Meeting and made the initial disclosures required by Rule 26(a)(1). The Joint

Status Report shall also serve as the written report of the Rule 26(f) Meeting.

8.     Status Conference / Rule 16(b) Scheduling Conference. At the Rule 16(b) Scheduling

Conference, the court will review the discovery plan set forth in the Joint Status Report and set

appropriate deadlines. The court seeks to try all adversary proceedings not later than 18 months

of the filing of the complaint. Consequently, all deadlines in the schedule, including the

dispositive motion deadline, must be met within 12 to 14 months of the filing of the complaint to

afford adequate time for briefing and ruling prior to the final pretrial conference and trial date.

       Counsel representing any party in conjunction with the Rule 26(f) Meeting, Joint Status

Report, and Rule 16(b) Scheduling Conference must be authorized to bind the party on all

matters to be covered.



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9.     Default. If no response to the complaint is timely filed, plaintiff should request entry of

default by the clerk prior to the status conference date set forth in the summons. F.R.Civ.P.

55(a). Plaintiff may also request entry of a default judgment by filing and serving an appropriate

motion. F.R.Civ.P. 55(b)(2).

10.    Sanctions. Failure to comply with these instructions may subject the responsible party

and/or counsel to sanctions. The failure of either party to cooperate in the preparation and filing

of a Joint Status Report or appear at the status conference may result in the imposition of

sanctions under LBR 7016-1(f) or (g).



                                          Mark D. Houle

                                 United States Bankruptcy Judge




                                                 4
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): 1. COMPLAINT FOR: (1) AVOIDANCE,
RECOVERY, AND PRESERVATION OF PREFERENTIAL TRANSFER; (2) AVOIDANCE, RECOVERY, AND
PRESERVATION OF CONSTRUCTIVE FRAUDULENT TRANSFER; AND (3) AVOIDANCE, RECOVERY, AND
PRESERVATION OF ACTUAL FRAUDULENT TRANSFER; 2. SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1]; 3. ADVERSARY PROCEEDING COVER SHEET; AND 4. EARLY
MEETING OF COUNSEL AND STATUS CONFERENCE INSTRUCTIONS EFFECTIVE FEBRUARY 17, 2012 will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 14, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

        Todd A. Frealy (TR) taftrustee@lnbyb.com, taf@trustesolutions.net
        D Edward Hays ehays@marshackhays.com, 8649808420@filings.docketbird.com
        Laila Masud lmasud@marshackhays.com, 8649808420@filings.docketbird.com
        United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
                                                                     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 14, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 14, 2019, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



Honorable Mark D. Houle
United States Bankruptcy Court
3420 Twelfth Street, Suite 365
Riverside, CA 92501‐3819
                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

        August 14, 2019           Layla Buchanan                                                /s/ Layla Buchanan
 Date    Printed Name                                                                           Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4820-8415-5808, v. 1
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2. SERVED BY UNITED STATES MAIL: Cont.

LAGUNA MOTORS, INC.                                 LAGUNA MOTORS, INC.                                 GABRIELA NIETO DIAZ
ATTN: DARSHAN UPADHYAYA,                            ATTN: AMANDA UPADHYAYA,                             13710 OAKLEY DRIVE
GENERAL MANAGER                                     SECRETARY                                           MORENO VALLEY, CA 92555
24095 ATUN                                          30012 IVY GLEN DRIVE
DANA POINT, CA 92629                                SUITE 290
                                                    LAGUNA NIGUEL, CA 92677

LAGUNA MOTORS, INC.                                 LAGUNA MOTORS, INC.                                 GABRIELA NIETO DIAZ
ATTN: DARSHAN UPADHYAYA,                            ATTN: AMANDA UPADHYAYA,                             29751 NIGUEL ROAD
GENERAL MANAGER                                     SECRETARY                                           APT. H
30012 IVY GLEN DRIVE                                24095 ATUN                                          LAGUNA NIGUEL, CA 92677
SUITE 290                                           DANA POINT, CA 92629
LAGUNA NIGUEL, CA 92677
LAGUNA MOTORS, INC.
ATTN: DINESH UPAHDYAYA,
AGENT FOR SERVICE OF
PROCESS
11101 TORBAY DRIVE
BAKERSFIELD, CA 93311
,




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4820-8415-5808, v. 1
